                                                             FILED
                                                          AUGUST 27, 2024
                                                     In the Office of the Clerk of Court
                                                    WA State Court of Appeals, Division III




           IN THE COURT OF APPEALS OF THE STATE OF WASHINGTON
                              DIVISION THREE

STATE OF WASHINGTON,                         )        No. 39348-8-III
                                             )
                     Respondent,             )
                                             )
      v.                                     )        UNPUBLISHED OPINION
                                             )
STEPHEN ANTHONY BAILEY,                      )
                                             )
                     Appellant.              )

      PENNELL, J. — Stephen Bailey appeals his 288-month sentence that was imposed

during a 2022 Blake 1 resentencing hearing. We affirm his sentence, but remand for the

limited purposes of striking the $500 crime victim penalty assessment (VPA) from the

judgment and sentence, and correcting two scrivener’s errors.


      1
          State v. Blake, 197 Wn.2d 170, 481 P.3d 521 (2021).
No. 39348-8-III
State v. Bailey


                                    BACKGROUND

       In 2008, a jury convicted Mr. Bailey of first degree assault and witness

intimidation, both with findings of domestic violence. At his original sentencing hearing,

Mr. Bailey was deemed a persistent offender and received a life sentence. This sentence

was reversed on appeal and the case was remanded for resentencing. State v. Bailey,

179 Wn. App. 433, 335 P.3d 942 (2014). At the 2014 resentencing hearing, Mr. Bailey’s

sentencing range was calculated as 240 to 318 months. Mr. Bailey’s offender score

included a 2002 conviction for possession of a controlled substance. The resentencing

court imposed a total sentence of 300 months of incarceration.

       While Mr. Bailey was serving his sentence, the Washington Supreme Court

decided State v. Blake, 197 Wn.2d 170, 481 P.3d 521 (2021). The Blake decision held

that Washington’s statute criminalizing simple possession of controlled substances was

void because it violated the due process clauses of the state and federal constitutions.

Blake had a retroactive effect. One of the results of Blake was that defendants serving

criminal sentences that had been inflated based on prior convictions for possession of a

controlled substance were entitled to resentencing. Mr. Bailey’s case was one of many

impacted by Blake. As a result, he was scheduled for a second resentencing hearing in

October 2022.




                                             2
No. 39348-8-III
State v. Bailey


       At the time of the 2022 resentencing hearing, neither the original 2008 sentencing

judge nor the 2014 resentencing judge were available to handle Mr. Bailey’s case. As a

result, the Blake resentencing was handled by a judicial officer who was new to the case.

       Mr. Bailey appeared for his resentencing remotely, via video technology. At the

onset of the hearing, Mr. Bailey’s attorney noted Mr. Bailey was housed at the local

jail and wanted to be present in the courtroom for his hearing. The attorney requested

Mr. Bailey be brought to court, noting Mr. Bailey had a “list of notes” he wanted counsel

to review during the hearing. 1 Rep. of Proc. (RP) (Oct. 26, 2022) at 18. The State

objected to Mr. Bailey’s request, noting it did not see the necessity of Mr. Bailey being

brought into the courtroom. The court commented Mr. Bailey could participate in the

hearing through the video technology. It denied Mr. Bailey’s request to be brought into

the courtroom, explaining it had “security concerns about Mr. Bailey” because there

was “a courtroom full of people and not enough officers.” Id. Mr. Bailey’s attorney

responded, “Understood.” Id. The attorney then advised Mr. Bailey that he was going to

stay at the jail during the proceeding, but the attorney would be able to take a break for a

private consultation with Mr. Bailey if necessary.

       The court went forward with resentencing. The State reviewed the case’s

procedural history and pointed out Mr. Bailey’s sentencing range had not changed as a

result of Blake—his offender score remained maxed out and his sentencing range was

                                              3
No. 39348-8-III
State v. Bailey


still 240 to 318 months. The State requested the court reimpose the prior sentence of

300 months.

       During Mr. Bailey’s presentation, defense counsel elicited brief testimony from

the victim. In response to counsel’s questions, the victim stated she was not afraid of

Mr. Bailey, she loved him, and she did not think he needed to be incarcerated for as long

as the State had requested because he was “getting domestic violence classes.” Id. at 25.

While the victim was physically present in the courtroom, most of the victim’s

statements appear to not have been “picked up on the record” and the court said it could

not hear “a word” the victim was saying. Id. The court asked defense counsel for a

summary. Counsel stated, the victim “still has strong, good feelings for Stephen Bailey

and she’s talking about hoping the Court—she would rather he was out today is what she

was saying. She is not in fear of [Mr. Bailey].” Id. Defense counsel added the victim had

discussed “domestic violence classes and other things [Mr. Bailey] was doing.” Id. at 26.

       Defense counsel asked for a low-end sentence, 2 noting Mr. Bailey had certificates

of completion for domestic violence and other classes. Counsel also represented that

Mr. Bailey wanted to be done with gangs, but the separation process was difficult while


       2
        Defense counsel claimed Mr. Bailey’s sentencing range should be lowered
based on Blake, but counsel did not proffer any substantive arguments against the State’s
offender score calculation.


                                             4
No. 39348-8-III
State v. Bailey


he remained in custody. Defense counsel also asked the court to strike all nonmandatory

legal financial obligations.

         After hearing from defense counsel, the State introduced testimony from a

detective who had worked on Mr. Bailey’s case. The detective recalled there had been a

lot of “manipulation” in the relationship between Mr. Bailey and the victim. Id. at 32.

The detective had listened to hundreds of jail calls between Mr. Bailey and the victim as

part of the obstruction investigation. According to the detective, there was a lot of

“mental abuse” between Mr. Bailey and the victim. Id. at 33.

         The State also made some evidentiary proffers, including information from

the Department of Corrections (DOC) that Mr. Bailey had received an infraction in

May 2022 for instructing an out-of-custody individual on how to introduce contraband

into the prison. The State’s attorney also proffered that, during his work on Mr. Bailey’s

criminal trial, he recalled reviewing a phone call between Mr. Bailey and the victim

during which Mr. Bailey told the victim “to prostitute herself ” for bail money. Id. at

34-35.

         Mr. Bailey then addressed the court. He admitted to hurting the victim and

apologized for his actions. But he also claimed he was actually innocent of his assault

conviction because he had never actually choked the victim. Mr. Bailey discussed the

challenges he experienced in his youth, his efforts to distance himself from gangs, and

                                              5
No. 39348-8-III
State v. Bailey


the progress he had made in custody by working and taking domestic violence awareness

classes. Mr. Bailey assured the court he was not the same person he was at the time of

his offense conduct.

       After hearing from Mr. Bailey and allowing defense counsel time to review the

State’s evidence, the court proceeded to imposition of sentence. The court noted that

Mr. Bailey’s sentencing range was 240 to 318 months and that it was the court’s practice

to start at the middle of the range. The court recognized it was new to Mr. Bailey’s case

and stressed its sentencing decision would be “based upon the evidence that’s been

presented to me today.” Id. at 53. The court expressed skepticism that Mr. Bailey had

changed his manipulative ways, given: (1) the DOC infraction received only five months

prior to resentencing for attempting to influence an individual to move contraband into

the prison, and (2) the manipulating and controlling nature of the hundreds of prison

calls from Mr. Bailey to the victim and the fact that she was in court that day in support

of Mr. Bailey. Nevertheless, the court decided to remove 12 months from Mr. Bailey’s

prior sentence based on Blake. The court also decided to shorten the lifetime no-contact

order between Mr. Bailey and the victim and to eliminate unnecessary legal financial

obligations. The final sentence imposed by the court included a total term of 288 months

in prison, and a 25-year no-contact order. The only financial obligation imposed by the

court was the then-mandatory $500 VPA.

                                             6
No. 39348-8-III
State v. Bailey


       After the court pronounced sentence, Mr. Bailey stated he had some objections he

wanted to place on the record. During this process, Mr. Bailey commented that he wished

he could have “had the opportunity to stand next to [his] attorney” during the sentencing

hearing. Id. at 63-64. The court told Mr. Bailey he had been advised his attorney could

come back to speak with him if necessary. Mr. Bailey then asked for a pause in the

proceedings to confer with counsel. The court granted this request. When the proceedings

resumed, defense counsel placed Mr. Bailey’s legal objections on the record. 3 Counsel

also stated the victim “was disappointed that she didn’t get to speak, but it seemed clear

to [counsel] that was not gonna bear fruit.” Id. at 66. Thus, counsel preserved an

objection to the victim’s “absence from further participation.” Id.

                                          ANALYSIS

       Mr. Bailey appeals the court’s resentencing decision, raising five assignments

of error: (1) the court failed to conduct a de novo resentencing, (2) the court violated

Mr. Bailey’s “constitutional right to be physically present” at his resentencing hearing by

not allowing him to appear in person, (3) the court violated the victim’s constitutional

right to speak at sentencing, (4) new legislation requires striking the VPA, and (5) the

judgment and sentence form contains scrivener’s errors. Appellant’s Opening Br. at 2.


       3
           The nature of the legal objections are not relevant to the issues raised on appeal.


                                                7
No. 39348-8-III
State v. Bailey


We address each claim in turn.

1. De novo sentencing hearing

       Mr. Bailey argues the trial court failed to conduct a de novo sentencing hearing,

as required by State v. Dunbar, 27 Wn. App. 2d 238, 532 P.3d 652 (2023). We disagree.

       In Dunbar, we held that when a trial court conducts a resentencing under Blake,

the hearing must be de novo, not merely a reimposition of the prior sentence. At

resentencing, the court may consider evidence of “any matters relevant to sentencing,

even those that may not have been raised at the first sentencing hearing.” Id. at 248.

       The record shows Mr. Bailey received a full, de novo resentencing hearing.

Unlike Dunbar, the court here did not simply defer to the sentence previously imposed

in 2014 by a separate judge. Instead, the court listened to new evidence and stated it

was basing its decision on the evidence presented at the resentencing hearing. The court

considered Mr. Bailey’s arguments regarding postsentencing rehabilitation, but found

them unconvincing. Nevertheless, the court exercised its discretion to lower Mr. Bailey’s

term of incarceration and the duration of the no-contact order. This was the type of

independent sentencing decision contemplated by our decision in Dunbar.

       Mr. Bailey argues he was denied a de novo hearing because the court did not allow

him to be physically present in the courtroom and because the court limited the victim’s

right to speak. These arguments pertain to the issue of whether the court committed

                                             8
No. 39348-8-III
State v. Bailey


legal errors during the resentencing. They do not pertain to whether or not the hearing

was conducted de novo. We address the issues of physical presence and the victim’s right

to speak as independent claims of error, addressed below.

2. Physical presence in courtroom

       Citing State v. Ramos, Mr. Bailey argues the videoconferencing procedure

employed by the court violated his “constitutional right to be present at sentencing,

including resentencing.” 171 Wn.2d 46, 48, 246 P.3d 811 (2011) (per curiam). Ramos

held that when a resentencing decision is not merely ministerial, but instead requires the

exercise of discretion, a court may not handle the case simply by making corrections to

the judgment and sentence. Instead, a resentencing hearing must be held where the

defendant “shall be afforded the opportunity to be present and heard.” Id. at 49.

       Unlike the present case, Ramos did not involve a virtual hearing. Rather, the issue

in Ramos was the defendant had not been present at all for the court’s resentencing

decision.

       Mr. Bailey cites no authority for the proposition that a virtual hearing constitutes a

per se violation of the constitutional right to presence. This claim is not patently obvious.

Unlike what happened in Ramos, Mr. Bailey had the ability to be heard and to interact




                                              9
No. 39348-8-III
State v. Bailey


with the court throughout his resentencing hearing. 4 The mere fact that Mr. Bailey

appeared virtually for his resentencing hearing does not directly place his case at odds

with the rule announced in Ramos.

       As the appellant, it is Mr. Bailey’s burden to show the existence of legal error.

“‘[W]e are not in the business of inventing unbriefed arguments for the parties sua

sponte.’” In re Pers. Restraint of Coats, 173 Wn.2d 123, 138, 267 P.3d 324 (2011)

(quoting State v. Studd, 137 Wn.2d 533, 547, 973 P.2d 1049 (1999)). Researching

and vetting possible legal arguments on a litigant’s behalf undermines judicial neutrality.

It is also detrimental to the development of well-reasoned jurisprudence, which should

be informed by competing viewpoints and the crucible of litigation. At times, it may be

appropriate for the court to consider arguments not raised by the parties. But doing so

is generally only proper “when there is no dispute about the law.” Alverado v. Wash.

Pub. Power Supply Sys., 111 Wn.2d 424, 429-30, 759 P.2d 427 (1988). Here, the law is

not beyond dispute. Despite the dissent’s apparent 50-state review, it seems no court in

this country has ever held that an appearance by video constitutes a per se violation of

the constitutional right to presence. We decline to reach this type of momentous issue on


       4
        The court also never muted Mr. Bailey or limited his ability to be seen and heard.
This contrasts with the Texas case cited by the dissent. See Hughes v. State, 691 S.W.3d
504 (Tex. Crim. App. 2024).


                                             10
No. 39348-8-III
State v. Bailey


our own, without the parties’ suggestion or input.

       Rather than advocate for arguments on behalf of Mr. Bailey, we prefer the role

of neutrality. The general rule in our court is that when a party merely gives passing

treatment to an issue, or fails to provide reasoned argument, judicial consideration is

not warranted. Atkerson v. Dep’t of Child., Youth &amp; Fams., 29 Wn. App. 2d 711, 732 n.4,

542 P.3d 593, review granted, 3 Wn.3d 1001, 549 P.3d 113 (2024)). We invoke this rule

to decline review of Mr. Bailey’s constitutional claim.

       Mr. Bailey also appears to argue the trial court’s sentencing procedure violated

CrR 3.4. Under CrR 3.4(e)(2), the court may conduct a sentencing hearing by

videoconference “only by agreement of the parties.” 5 The rule makes no exception

for safety concerns. Here, it is undisputed Mr. Bailey objected to the videoconference

procedure. Thus, we agree with Mr. Bailey that the resentencing hearing violated the

plain terms of the court rule.

       Although Mr. Bailey’s resentencing hearing occurred in violation of the court

rule, this does not end our analysis. When it comes to nonconstitutional errors such as

a court rule violation, relief on appeal turns on whether the defendant can show prejudice.

See State v. Barry, 183 Wn.2d 297, 304, 352 P.3d 161 (2015). Prejudice in this context

       5
        CrR 3.4(e)(1) provides greater authority for videoconference proceedings for
preliminary appearances, arraignments, bail hearings, and trial setting hearings.


                                             11
No. 39348-8-III
State v. Bailey


requires showing a reasonable probability of a material impact on the proceedings.

State v. Lupastean, 200 Wn.2d 26, 52-53, 513 P.3d 781 (2022).

       Mr. Bailey fails to make the requisite showing of prejudice. His briefing makes

no argument for prejudice; he simply claims he is entitled to resentencing. Our own

assessment of the record indicates Mr. Bailey was not prejudiced by the violation of

CrR 4.3(e)(2). 6 If anything, Mr. Bailey appears fortunate to have received a reduction

in sentence, despite the fact that (1) Blake did not impact his sentencing range, and

(2) the court rejected Mr. Bailey’s claim of rehabilitation. Given the lack of prejudice,

Mr. Bailey is not entitled to yet another resentencing hearing simply based on a violation

of CrR 3.4.

3. Violation of victim’s rights

       Mr. Bailey argues the court violated the victim’s statutory and constitutional

rights to address the court during the resentencing hearing. See WASH. CONST. art. I,

       6
          The dissent speculates that had Mr. Bailey appeared in person, he may have
been able to help his attorney raise legal challenges to his sentencing range. See Dissent
at 29-31. It is unclear why Mr. Bailey’s physical presence would have been necessary
for counsel to assert legal arguments. The record shows that Mr. Bailey and his trial
counsel had numerous opportunities to meet and confer prior to the resentencing hearing.
Presumably, Mr. Bailey would have been able to share his legal concerns with counsel
prior to the hearing. Furthermore, if Mr. Bailey had valid legal arguments in support of
a lower sentencing range, those could have been raised on appeal. They were not. It
appears the reason neither Mr. Bailey’s trial attorney nor his sentencing attorney have
challenged the legality of the sentencing range is that there is no basis for doing so.


                                             12
No. 39348-8-III
State v. Bailey


§ 35; former RCW 7.69.030(14) (2022); RCW 9.94A.500(1). Mr. Bailey fails to cite any

authority showing he has standing to assert a violation of the victim’s rights. This claim

therefore fails to warrant further judicial review or relief. 7

4. VPA

        After Mr. Bailey’s resentencing hearing, the legislature amended the VPA statute

by passing Engrossed Substitute House Bill 1169, with those amendments taking effect

July 1, 2023. See State v. Ellis, 27 Wn. App. 2d 1, 16, 530 P.3d 1048 (2023) (citing

LAWS OF 2023, ch. 449, § 1). The statute now prohibits courts from imposing a VPA on

defendants found to be “indigent” as defined by RCW 10.01.160(3), and requires the trial

court to waive any VPAs imposed before the effective date, on the defendant’s motion, if

the defendant is unable to pay. See RCW 7.68.035(4), (5)(b). Although the amendments

did not take effect until after Mr. Bailey’s resentencing hearing, they apply prospectively

to cases on direct review. See Ellis, 27 Wn. App. 2d at 16 (citing State v. Ramirez, 191

Wn.2d 732, 748-49, 426 P.3d 714 (2018)).

       The parties agree that Mr. Bailey is indigent and therefore entitled to relief from

the VPA. We concur. We therefore remand with instructions to strike the VPA from

       7
        We also note the trial court never refused to hear from the victim. The court
merely stated it could not hear what the victim was saying and asked for a summary.
During the resentencing hearing, Mr. Bailey never suggested any other options for
conveying the victim’s statements to the court.


                                               13
No. 39348-8-III
State v. Bailey


Mr. Bailey’s judgment and sentence.

5. Scrivener’s error

       Mr. Bailey asserts there are scrivener’s errors on his 2022 judgment and sentence

form. Specifically, he points to inconsistencies with the 2014 amended judgment and

sentence form pertaining to dates of his prior convictions for third degree rape and taking

a motor vehicle without permission. The State concedes there are scrivener’s errors on

the judgment and sentence form requiring correction. We accept this concession and

remand for this purpose.

                                     CONCLUSION

       Mr. Bailey’s sentence is affirmed. We remand for the limited purposes of striking

the VPA and correcting scrivener’s errors on the judgment and sentence form. Because the

scope of remand is limited to ministerial matters, Mr. Bailey’s presence is not required.

       A majority of the panel has determined this opinion will not be printed in

the Washington Appellate Reports, but it will be filed for public record pursuant to

RCW 2.06.040.


                                          Pennell, J.
I CONCUR:



Cooney, J.

                                            14
                                      No. 39348-8-III

       FEARING, J. (dissenting) — The resentencing court breached Stephen Bailey’s

constitutional right to appear in person during the resentencing hearing. In turn, the State

fails to show constitutional harmless error. I would remand for a new resentencing

hearing.

       The majority does not necessarily disagree with my conclusion. The majority

instead declines to entertain Stephen Bailey’s constitutional argument because, in the

majority’s view, Bailey’s appellate counsel pens a deficient brief.

                                     BACKGROUND

       This appeal arises out of Stephen Bailey’s motion, filed in 2021, for a resentencing

following the Supreme Court’s decision in State v. Blake, 197 Wn.2d 170, 481 P.3d 521
(2021). In State v. Blake, the Washington Supreme Court declared Washington’s strict

liability drug possession statute that criminalized unintentional, unknowing possession of

controlled substances in violation of state and federal due process clauses. As a result,

superior courts vacated all earlier simple drug possession convictions. In turn, the courts

needed to modify offender scores that relied on a drug possession conviction.
No. 39348-8-III
State v. Bailey (Dissent)


       On October 26, 2022, the superior court entertained Stephen Bailey’s motion to

vacate his 2002 drug possession conviction, amend his offender score, and resentence

him on his 2008 convictions for one count of assault in the first degree, domestic

violence, and one count of intimidating a witness, domestic violence. Bailey appeared at

the motion hearing by Zoom, despite being in an adjacent jail. As the hearing began,

Bailey’s counsel asked that Bailey be present in the courtroom. Counsel added that his

client wrote notes for him to review for the hearing and the client needed to deliver the

notes to him in the courtroom. The State downplayed the importance of a Blake hearing

and contended Bailey’s presence in the courtroom was not needed.

       The resentencing court summarily denied the request of Stephen Bailey to appear

in person inside the courtroom based on security concerns. The court noted the presence

of many others in the courtroom and a dearth of security officers.

       After the superior court denied defense counsel’s request to bring Stephen Bailey

into the courtroom, counsel informed Bailey, through the videoconference facilities on

which others listened, that the judge ruled Bailey would remain in the jail. Defense

counsel and Bailey publicly spoke to one another:

              MR. KLEIN [Defense counsel]: Look, the way it’s gonna work is
       they’re gonna keep you there. If you need to talk to me in private, I’ll come
       back and confer with you as the hearing goes. Is that understood?
              MR. BAILEY: Yeah, well I got the stuff that you asked me to write
       for you.



                                             2
No. 39348-8-III
State v. Bailey (Dissent)


1 Report of Proceedings (RP) (Oct. 26, 2022) at 19. Neither the court nor counsel

informed Bailey as to how to register a desire to speak with his counsel. The court

did not indicate if and when, during the hearing, Bailey could confer with his

attorney.

       After Stephen Bailey informed his attorney that he held, in the jail room, the notes

written for counsel, Bailey and his counsel further spoke on the record:

              MR. KLEIN [Defense counsel]: Okay. Yes, so Stephen someone
       is—Blockus (sp) is gonna, I get the rank wrong every time, but the big boss
       is gonna come—
              MR. BAILEY: Okay.
              MR. KLEIN: —get that to me.

1 RP (Oct. 26, 2022) at 19. The record does not confirm whether someone

delivered Bailey’s notes to his lawyer.

       During the October 26 hearing, the State summarized earlier proceedings and

discussed the correct offender score. The State asserted that, despite the reduction of

Stephen Bailey’s offender score by one point, his score remained nine-plus. In turn,

his standard sentencing range remained in the window of 240 to 318 months. The State

asked the resentencing court to resentence Bailey to the same sentence imposed in 2014,

300 months for the assault and 75 months for intimidating a witness, with the two

sentences to run concurrently.

       Stephen Bailey, through counsel, argued his offender score was 8, because the

previous judgment and sentence read that his offender score was nine, not nine-plus.

                                             3
No. 39348-8-III
State v. Bailey (Dissent)


According to Bailey, the State was estopped to claim that the score had earlier been

nine-plus, because the State had never corrected the previous judgment. Bailey, through

counsel, claimed his standard sentencing range was 209 to 277 months. Bailey asked for

the low end of this range.

       The resentencing court permitted the victim, Rosa Botello, to speak. During

Botello’s soliloquy, the court indicated it could not hear her and asked defense counsel

to summarize what she said. I do not understand why the court could not hear Botello

since Botello was present in the courtroom. According to counsel, Botello, who was

Stephen Bailey’s girlfriend, stated she loved him and no longer feared him.

       During the resentencing hearing, defense counsel listed efforts made by Stephen

Bailey to rehabilitate and educate himself, including domestic violence classes and

exiting from gang affiliation. In response, a law enforcement officer reminded the court

of Bailey’s violent relationship with the victim and his 457 violations of a no-contact

order by calling the victim while in jail. The prosecution mentioned a recent instance

when, while in prison, Bailey attempted to convince a woman in Seattle into concealing

and sending him contraband by mail.

       After argument of counsel, Stephen Bailey addressed the resentencing court.

RP 35-46. Counsel then reargued their client’s respective positions. During the middle

of the colloquy between both counsel and the resentencing court, Bailey interrupted, not

to speak with his counsel, but to correct the court about the nature of prison infractions.

                                              4
No. 39348-8-III
State v. Bailey (Dissent)


Bailey’s counsel interrupted Bailey and told him to cease talking. The court then asked a

question, and Bailey began to answer. Bailey’s counsel then again advised Bailey to

remain silent. Before the resentencing court’s ruling, Bailey never asked to confer with

his attorney.

       During its ruling, the resentencing court expressed concern that Stephen Bailey

continued to manipulate the victim and others. The court adjudged Stephen Bailey’s

offender score to be nine with a sentencing range of 240 to 318 months. The court

sentenced Bailey to 288 months for domestic violence assault and 75 months for

domestic violence intimidation, with the sentences to run concurrently. The court also

reduced a lifetime ban of contact with Rosa Botello to a 25-year no-contact order.

       Immediately after the resentencing court ended its ruling, Stephen Bailey

attempted to prevail on the court to modify its opinion. Bailey claimed that he served, as

a result of the drug possession conviction, an extra year on the 2003 rape conviction and

he should get a twelve-month deduction in his sentence for this time. He argued with the

court about its refusal to discontinue the no-contact order. Bailey’s counsel interrupted

Bailey a third time. Counsel then commented about his failure to mention Bailey’s

request for a reduction of one year in the sentence because of the lengthened rape

sentence. The court declined the reduction stating “it’s water under the bridge.” 1 RP

(Oct. 26, 2022) at 60.



                                             5
No. 39348-8-III
State v. Bailey (Dissent)


       The resentencing court next advised Stephen Bailey of his right to appeal. When

the court asked Bailey if he had any questions about the right to appeal, his counsel

injected, told Bailey not to speak, and informed Bailey that he would see Bailey the next

day. Bailey, without any input from counsel, began to list additional objections to the

resentencing court’s rulings. The court interrupted Bailey and remarked that the court

had already heard argument. Bailey responded:

              Oh, I was just trying to put it on the record. Again, I’m not—I’m
       not an attorney. I don’t—I really don’t know much of the law.

1 RP (Oct. 26, 2022) at 63.

       Stephen Bailey continued to raise objections to the proceeding. A colloquy

between Bailey, the court, and Bailey’s attorney ensued:

               MR. BAILEY: . . . I—I wish I would have had the opportunity to
       stand next to my attorney so I could speak with him during the—during the
       sentencing hearing. However, I’m over here and he’s over there and this is
       all over the computer. So, I kind of feel as if I’m alone in this in some type
       of way.
               THE COURT: Mr. Bailey, you were advised that if you needed to
       speak with him or if you needed to pass notes or so forth, that Mr. Klein
       would come back and see you. You understood that.
               MR. BAILEY: Okay. So, could we have a pause in this for a minute
       so I can speak with my attorney momentarily. Just there’s some things that
       I would like to get put on the record. So, perhaps I could speak with him to
       see if that –
               THE COURT: Do you wish to do so, Mr. Klein?
               MR. KLEIN [Defense counsel]: I think I have to.
               THE COURT: We’ll take a pause at this point in time. . . .

1 RP (Oct. 26, 2022) at 63-64.


                                             6
No. 39348-8-III
State v. Bailey (Dissent)


       The resentencing court recessed. On resumption of the hearing, Stephen Bailey’s

counsel stated that Bailey objected to his juvenile conviction for robbery being counted

as two points and the resentencing court’s refusal to consider the 2000 convictions for

attempting to elude and taking a motor vehicle without permission as the same criminal

conduct. Counsel also expressed Rosa Botello’s and Stephen Bailey’s disappointment

that Botello could not “speak.” 1 RP (Oct. 26, 2022) at 66.

                                 LAW AND ANALYSIS

       On appeal, Stephen Bailey assigns five errors to the resentencing procedure. First,

the resentencing court failed to afford him a de novo hearing. Second, the court denied

him the constitutional right and the entitlement under court rule to appear in person inside

the courtroom during the hearing. Third, the resentencing court denied victim Rosa

Botello the right to be heard. Fourth, the court erred when imposing a crime victim

penalty assessment. Fifth, the judgment and sentence contains scrivener’s errors.

       I conclude, consistent with the majority, that the resentencing procedure

contravened Stephen Bailey’s rights under CrR 3.4 to appear in person at the hearing.

More importantly, contrary to the majority, I conclude the procedure breached Bailey’s

constitutional right to a physical appearance in the courtroom and the State fails to show

constitutional harmless error. These conclusions concern assignment of error two. I

agree with the majority’s rulings in response to assignments of error one, four, and five.

I do not address assignment of error three.

                                              7
No. 39348-8-III
State v. Bailey (Dissent)


       During the resentencing hearing, Stephen Bailey, through his counsel and when

speaking on his behalf, decried the inability to be present in the courtroom in order to

have the benefit of constant collaboration with his counsel. Bailey, throughout his two

appellate briefs, also complains about not being able to constantly confer with his

counsel because the two were logistically separated during the resentencing hearing.

Nevertheless, he does not explicitly argue on appeal that the videoconference hearing

contravened his right to assistance of counsel under the Sixth Amendment to the United

States Constitution or article 1, section 22 of the Washington Constitution. Since the

right to a physical appearance alone merits another resentencing hearing, I need not

decide whether the remote hearing violated the right to assistance of counsel. Otherwise,

I would direct the parties, pursuant to RAP 12.1(b), to address the right of assistance of

counsel.

       The right to be present in person and the right to assistance of counsel intertwine

in the context of a defendant appearing remotely. The Court of Criminal Appeals of

Texas noted this entanglement in Hughes v. State when it wrote:

              Ordinarily, when all of the parties are physically present, a
       defendant's disruptions would earn rebukes and orders to be quiet, such as
       those that [Darren Hughes] twice earned over the Zoom teleconference
       without being muted. The difference however is that in the ordinary case a
       defendant that is told to be quiet would be physically next to defense
       counsel and could have quietly talked to counsel or poked and prodded
       counsel, passed notes, or otherwise indicated to counsel that he wanted to
       talk.


                                             8
No. 39348-8-III
State v. Bailey (Dissent)


Hughes v. State, 691 S.W.3d 504, 522 (Tex. Crim. App. 2024).

       The parties do not dispute the facts underlying the resentencing hearing process.

The question of whether the procedure violated Stephen Bailey’s right to assistance of

counsel remains one of law that can readily be resolved. An appellate court holds

inherent discretionary authority to reach an issue not briefed by parties if the issue is

necessary for decision. State v. Aho, 137 Wn.2d 736, 740-41, 975 P.2d 512 (1999); City

of Seattle v. McCready, 123 Wn.2d 260, 269, 868 P.2d 134 (1994). The court may raise

an issue sua sponte and rest its decision on that issue. RAP 12.1(b); Greengo v. Public

Employees Mutual Insurance Co., 135 Wn.2d 799, 813, 959 P.2d 657 (1998) (plurality

opinion). When determining whether to exercise this authority, the court discerns

whether the issue is a purely legal one. City of Seattle v. McCready, 123 Wn.2d 260, 269

(1994). Generally, the court requests additional briefing, but, if briefing is not necessary

to a full and fair resolution of the issue, the court will, in the rare case, decide the issue

without additional briefing. RAP 12.1(b); State v. Aho, 137 Wn.2d 736, 741 (1999);

Greengo v. Public Employees Mutual Insurance Co., 135 Wn.2d 799, 812-13, (1998);

Falk v. Keene Corp., 113 Wn.2d 645, 659, 782 P.2d 974 (1989); Alverado v. Washington

Public Power Supply System, 111 Wn.2d 424, 430, 759 P.2d 427 (1988).

       In State v. Aho, 137 Wn.2d 736 (1999), Fonua Aho challenged the

constitutionality of the application of child molestation statute to offenses for which

a substantial portion of charging period predated the statute’s effective date. Both

                                                9
No. 39348-8-III
State v. Bailey (Dissent)


parties analyzed the question under the ex post facto clauses of the state and federal

constitutions. Our Supreme Court, without asking for input from the parties, resolved the

appeal on a due process violation and reversed the conviction. This court could similarly

decide Bailey’s appeal under the Sixth Amendment right to assistance of counsel.

       Stephen Bailey employs two pillars to pillory his inability to attend the

resentencing hearing inside the courtroom: CrR 3.4 and the Sixth Amendment right to

be present. The State devotes scant attention to whether the videoconference hearing

violated a court rule or constitutional demands. The State concentrates on the question

of whether Stephen Bailey shows prejudice because of his remote appearance at the

resentencing hearing.

       Issue 1: Whether the resentencing procedure infringed on Stephen Bailey’s

rights under CrR 3.4

       Answer 1: Yes.

       I first address the court rule. CrR 3.4 declares:

              (a) Presence Defined. Unless a court order or this rule specifically
       requires the physical presence of the defendant, the defendant may appear
       remotely or through counsel. Appearance through counsel requires that
       counsel either (i) present a waiver the defendant has signed indicating the
       defendant wishes to appear through counsel or (ii) affirm, in writing or in
       open court, that this is the defendant’s preference.
              (b) When Necessary. The defendant shall be present physically or
       remotely (in the court’s discretion) at the arraignment (if one is held), at
       every stage of the trial including the empaneling of the jury and the return
       of the verdict, and at the imposition of sentence, except as otherwise


                                             10
No. 39348-8-III
State v. Bailey (Dissent)


       provided by these rules, or as excused or excluded by the court for good
       cause shown.
               ....
               (e) Videoconference Proceedings.
               (1) Authorization. Preliminary appearances held pursuant to
       CrR 3.2.1, arraignments held pursuant to this rule and CrR 4.1, bail
       hearings held pursuant to CrR 3.2, and trial settings held pursuant to
       CrR 3.3, may be conducted by video conference in which all participants
       can simultaneously see, hear, and speak with each other. Such proceedings
       shall be deemed held in open court and in the defendant’s presence for the
       purposes of any statute, court rule or policy. All video conference hearings
       conducted pursuant to this rule shall be public, and the public shall be able
       to simultaneously see and hear all participants and speak as permitted by
       the trial court judge. Any party may request an in person hearing, which
       may in the trial court judge’s discretion be granted.
               (2) Agreement. Other trial court proceedings including the entry of
       a Statement of Defendant on Plea of Guilty as provided for by CrR 4.2 may
       be conducted by video conference only by agreement of the parties, either
       in writing or on the record, and upon the approval of the trial court judge
       pursuant to local court rule.
               (3) Standards for Video Conference Proceedings. The judge,
       counsel, all parties, and the public must be able to see and hear each other
       during proceedings, and speak as permitted by the judge. The video and
       audio should be of sufficient quality to ensure participants are easily seen
       and understood. Video conference facilities must provide for confidential
       communications between attorney and client, including a means during the
       hearing for the attorney and the client to read and review all documents
       executed therein, and security sufficient to protect the safety of all
       participants and observers. . . .

(Emphasis added). I note some ambiguity in the court rule. Subsections (a) and (b) of

the rule suggest that the trial court, at its discretion, may direct a videoconference hearing

at any criminal proceeding. Conversely, subsection (e)(1) intimates the authorization

only to conduct arraignments, bail hearings, and trial settings by remote means.

Subsection (e)(2) resolves this ambiguity by clarifying all other proceedings must be

                                             11
No. 39348-8-III
State v. Bailey (Dissent)


by personal appearance inside the courtroom unless by agreement of the parties, which

agreement demands approval by the court.

       The State argues that Stephen Bailey appeared in person at his resentencing

hearing because presence by video monitor constitutes a personal appearance. It cites

no authority for this argument. CrR 3.4 distinguishes between physical appearance in

the courtroom and appearance remotely.

       The State also suggests that the resentencing court possessed discretion to require

Stephen Bailey’s appearance by videoconference for security reasons. But then the State

supplies no analysis as to the conditions that it claims supported the court’s security

measures. Passing treatment of an issue or lack of reasoned argument is insufficient to

merit judicial consideration. Atkerson v. Department of Children, Youth &amp; Families, 29

Wn. App. 2d 711, 732 n.4, 542 P.3d 593, review granted, 3 Wn.3d 1001, 549 P.3d 113
(2024)). We lack sufficient information to assess the validity of precluding Bailey’s

personal appearance on the basis of security. Neither party contends that orders entered

by the Washington Supreme Court or the Yakima County Superior Court because of the

COVID-19 pandemic excused a personal appearance by Stephen Bailey.

       The October 26, 2022 resentencing hearing violated CrR 3.4 because of the

preclusion of Stephen Bailey from the courtroom. The hearing disregarded the rule for

two other reasons, both in breach of CrR 3.4(e)(3). The technology did not allow all

participants to be heard. Since the superior court could not hear witness Rosa Botella, we

                                             12
No. 39348-8-III
State v. Bailey (Dissent)


presume Bailey could also not hear her. The videoconference facilities also did not

afford a breakout room for confidential communications between Bailey and his counsel

during the hearing. The rule does not excuse a remote hearing by the possibility of

counsel being able to confer with his client in the jail even assuming the conference

occurs before the sentencing court’s ruling.

       Issue 2: Whether the resentencing procedure infringed on Stephen Bailey’s

constitutional right to physical presence inside the courtroom?

       Answer 2: Yes.

       I move to the state and federal constitutions. Criminally accused persons have a

constitutional right to be present at all critical stages of court proceedings. U.S. CONST.

amend. VI; WASH. CONST. art. I, sec. 22; State v. Jones, 185 Wn.2d 412, 426, 372 P.3d

755 (2016). The Washington constitution declares, in part:

             In criminal prosecutions the accused shall have the right to appear
       and defend in person, or by counsel . . . .

This right extends to a resentencing hearing. State v. Ramos, 171 Wn.2d 46, 48, 246 P.3d

811 (2011) (per curiam); State v. Rupe, 108 Wn.2d 734, 743, 743 P.2d 210 (1987). Due

process requires the presence of the accused at all proceedings, including sentencing.

Whipple v. Smith, 33 Wn.2d 615, 618, 206 P.2d 510 (1949); U.S. CONST. amend. XIV,

sec. 1; WASH. CONST. art. I, sec. 3. The court may conduct a hearing without the

presence of the defendant only if the hearing entails a ministerial correction. State v.


                                               13
No. 39348-8-III
State v. Bailey (Dissent)


Ramos, 171 Wn.2d 46, 48 (2011). When a trial court exercises its discretion as to the

length of a sentence, the hearing is not merely ministerial. State v. Ramos, 171 Wn.2d

46, 48-49 (2011).

       Stephen Bailey never agreed to appear by videoconference. Instead, he objected

to the remote appearance. The hearing was not ministerial.

       The majority refuses to entertain Stephen Bailey’s claim that the remote hearing

breached Bailey’s Sixth Amendment right to be physically present on the excuse that

Bailey failed to develop his argument. In its refusal, the majority fails to note that

Stephen Bailey devoted four pages of his opening brief to amplifying his constitutional

argument. He cited to the Sixth Amendment to the United States Constitution, article 1,

section 22 of the Washington Constitution, and the following cases: State v. Ramos, 171

Wn.2d 46, 48-49, 246 P.3d 811 (2011); State v. Irby, 170 Wn.2d 874, 880-81, 246 P.3d

796 (2011); and State v. DeWeese, 117 Wn.2d 369, 381, 816 P.2d 1 (1991). The

decisions hold that an accused possessed a constitutional right to be present in court at

any critical stage of the trial. State v. Ramos rules that this right to be present extends to

a resentencing hearing. One wonders what more the majority wishes for Bailey to write

in order to enforce his constitutional rights.

       The majority cites the principle I previously cited when I mentioned the State’s

failure to substantiate the need for security when barring Stephen Bailey from the

courtroom. According to this principle, passing treatment of an issue or lack of reasoned

                                                 14
No. 39348-8-III
State v. Bailey (Dissent)


argument is insufficient to merit judicial consideration. Atkerson v. Department of

Children, Youth &amp; Families, 29 Wn. App. 2d 711, 732 n.4, 542 P.3d 593 (2024). I cited

the principle because of the lack of any facts as to the need for security then unavailable,

let alone any citation to a decision outlining when security concerns may justify a video

conference sentencing hearing. As to the denial of Stephen Bailey’s constitutional right

to appear in person, the facts need no further development. Bailey cited ample authority

to justify his legal position.

       Assuming the majority demands that Stephen Bailey forward a case announcing

that a videoconference hearing breaches the right to appear in person, the majority

unfairly imposes this burden on Bailey. The employment of remote hearings is a recent

development. One does not expect Washington cases, let alone cases from other

jurisdictions, to address remote hearings. Bailey stated and supported by case citation the

black letter rule that he has a right to a physical presence in the courtroom during

resentencing. The Washington Constitution grants him the right to appear in person.

Commonsense insists that appearing remotely by videoconference does not constitute

appearing in person. In our court division practice, we distinguish between an attorney

appearing by Zoom and appearing in person. The attorney appears in person when his or

her corporeal existence walks into the courtroom and stands at the podium, not when the

attorney shows on the screen with the attended limitations and inadequacies of

technology.

                                             15
No. 39348-8-III
State v. Bailey (Dissent)


       The majority insists that Stephen Bailey holds the burden to show a constitutional

violation. He has done so solely by citing to the federal and state constitutions. We may

rule in his favor solely on the language of the constitutions.

       If the State believes an exception to this constitutional right exists for a Zoom

hearing, the State should carry the burden of citing decisions showing the presence of the

exemption. The State fails to even argue against Bailey’s Sixth Amendment claim other

than to assert the lack of prejudice.

       Some foreign decisions address remote hearings during the recent global

pandemic. In Stewart v. State, 2022-KA-00107-SCT, 378 So. 3d 379 (Miss. 2024), the

reviewing court noted that the trial judge faced unprecedented circumstances that led to

Christopher Stewart’s virtual presence at the hearing—namely, the COVID-19 global

pandemic. The court denied a constitutional challenge to the videoconference hearing,

but cautioned not to always equate appearing by videoconference with appearing in

person.

       In Vazquez Diaz v. Commonwealth, 487 Mass. 336, 167 N.E.3d 822 (2021), John

Vazquez Diaz filed a motion to suppress evidence and a hearing on the motion was

scheduled to take place on May 4, 2020. The trial court postponed the motion hearing

because of the COVID pandemic, but ordered that the later hearing be conducted by

Zoom. Vazquez Diaz objected to a hearing by Zoom. In the alternative, he moved for a

continuance of the hearing until a time when the pandemic waned. The trial court

                                             16
No. 39348-8-III
State v. Bailey (Dissent)


overruled the objection to a Zoom hearing and denied the motion for a continuance. On

appeal, the Massachusetts Supreme Court affirmed the denial of the request to appear in

person because of the significant government interest in combatting the COVID virus.

Nevertheless, the court noted that importance of a defendant being able to directly

communicate with their counsel during a hearing, although counsel and the client could

confer in a breakout Zoom room. In part because a Zoom hearing differs from an in-

person hearing, the court reversed the trial court’s refusal to grant a continuance of the

motion hearing.

       Vazquez Diaz v. Commonwealth suggests the government must establish a

significant governmental interest in order to justify a remote appearance of the defendant.

The decision further suggests that the State bears the burden of showing a justification for

relegating the defendant to a video appearance, rather than the defendant bearing a

burden to show a violation of the right to appear. Vazquez Diaz v. Commonwealth, 487

Mass. 336, 342-43, 352-54 (2021).

       Darren Hughes suffered a more egregious violation of his right to appear in person

as reported in Hughes v. State, 691 S.W.3d 504 (Tex. Crim. App. 2024). When Hughes

violated the terms of community supervision by committing forgery, the State moved to

adjudicate defendant’s guilt of tampering with a governmental record, which had been

deferred when he pled guilty without an agreed recommendation to punishment and was

placed on community supervision for three years. At the adjudication hearing, the court

                                             17
No. 39348-8-III
State v. Bailey (Dissent)


required Hughes to appear by teleconference and muted him. The appellate court

reversed based on a denial of the due process right to appear in person. In doing so, the

court emphasized the muting of the microphone and the hearing entailing a motion to

adjudicate guilt. The court wrote, however:

              Ordinarily, when all of the parties are physically present, a
       defendant's disruptions would earn rebukes and orders to be quiet, such as
       those that [Darren Hughes] twice earned over the Zoom teleconference
       without being muted. The difference however is that in the ordinary case a
       defendant that is told to be quiet would be physically next to defense
       counsel and could have quietly talked to counsel or poked and prodded
       counsel, passed notes, or otherwise indicated to counsel that he wanted to
       talk. Even a defendant that must be bound and gagged can still find a way
       to make his desire to talk to counsel known.

Hughes v. State, 691 S.W.3d 504, 522 (Tex. Crim. App. 2024).

       This court earlier reviewed the use of videoconferencing during a trial in the

context of the Sixth Amendment’s right to confront witnesses. State v. Sweidan, 13 Wn.

App. 2d 53, 461 P.3d 378 (2020). Some of the same concerns underlie both the right to

face witnesses and the right to appear in person at a hearing. In the first instance, the

adjudicator should be able to see the full demeanor of the witness. In the second

instance, the sentencing court should hear directly from and witness the demeanor of the

offender.

       The United States Supreme Court and the Washington Supreme Court have held

that a witness may testify by remote technology only if (1) excusing the presence of the

witness necessarily furthers an important public policy, and (2) the procedure otherwise

                                             18
No. 39348-8-III
State v. Bailey (Dissent)


assures the reliability of the testimony. Maryland v. Craig, 497 U.S. 836, 850, 110 S. Ct.

3157, 111 L. Ed. 2d 666 (1990); State v. Sweidan, 13 Wn. App. 2d 53, 65, 461 P.3d 378
(2020). The United States Supreme Court, in Maryland v. Craig, 497 U.S. 836, 850

(1990), warned about routinely employing videoconference testimony. Technological

advances in the courtroom cannot come at the expense of the basic individual rights and

freedoms secured by our constitutions. State v. Sweidan, 13 Wn. App. 2d 53, 65 (2020);

Harrell v. State, 709 So. 2d 1364, 1372 (Fla. 1998). The electronic medium

compromises the presentation of a case. State v. Sweidan, 13 Wn. App. 2d 53, 65 (2020);

Commonwealth v. Atkinson, 987 A.2d 743, 751 (Pa. Super. Ct. 2009).

       Contrary to the majority’s assertion, a reasoned response by this court to Stephen

Bailey’s right to appear assignment of error does not show favoritism. If any partisanship

prevails in this appeal, the favoritism extends to ruling in favor of the State despite the

State providing no argument that the remote hearing conformed to Bailey’s constitutional

rights. Additionally, the majority’s failure to review Bailey’s Sixth Amendment

contention constitutes a rush to judgment, a belittling of the constitutional rights of

offenders, and a shirking of this court’s duty to enforce constitutional rights. Stephen

Bailey adequately presented his argument, and he deserves a full evaluation of his

assignment of error.

       Assuming Bailey’s counsel failed to sufficiently analyze the Sixth Amendment’s

interaction with videoconference hearings, the court should not punish Bailey for the

                                              19
No. 39348-8-III
State v. Bailey (Dissent)


neglect of his counsel or refuse to enforce Bailey’s constitutional rights. Although this

court needs no additional briefing on the subject, the majority could also direct both

parties to further brief the implications of a resentencing hearing by remote technology.

More importantly, this court routinely performs additional briefing to supplement the

briefing of counsel. Each judge has two law clerks and the court as a whole has three

staff attorneys to perform this role. Judges can also perform briefing.

       “The constitution is a solemn mandate by the people themselves, directed to the

various branches of the government, and we would be derelict in our duty if we permitted

such a mandate to be circumvented, regardless of our personal desires, no matter how

expedient such circumvention might appear at the time.” State ex rel. Troy v. Yelle,

27 Wn.2d 99, 102, 176 P.2d 459 (1947). Courts possess a sacred duty to safeguard the

constitutional rights of her citizens. Howell v. Cooper, 290 N.C. App. 287, 292, 892

S.E.2d 445 (2023), review granted, 900 S.E.2d 928 (N.C. 2024). A court must enforce

the provisions of the state constitution and may not lightly disregard or blink at a clear

constitutional mandate. Lacy v. City &amp; County of San Francisco, 94 Cal. App. 5th 238,

246, 312 Cal. Rptr. 3d 391 (2023).

       Issue 3: Whether the breach of Stephen Bailey’s rights under CrR 3.4 and the

violation of his constitutional right to be present constituted harmless error?

       Answer 3: No.



                                             20
No. 39348-8-III
State v. Bailey (Dissent)


       The resentencing hearing procedure contravened the strictures of CrR 3.4 and

contravened Stephen Bailey’s Sixth Amendment rights to be present. This ruling does

not necessarily lead to a reversal of the resentencing judgment. I must also determine

whether the violation of Stephen Bailey’s rights at the resentencing hearing formed

reversible error.

       An error in a trial does not merit reversal unless the error prejudiced the defendant.

State v. Grenning, 169 Wn.2d 47, 57, 234 P.3d 169 (2010); State v. Cunningham, 93

Wn.2d 823, 831, 613 P.2d 1139 (1980). A violation of the right to be present is subject

to harmless error analysis. Rushen v. Spain, 464 U.S. 114, 117-18, 104 S. Ct. 453, 78 L.

Ed. 2d 267 (1983); State v. Irby, 170 Wn.2d 874, 885, 246 P.3d 796 (2011). A violation

of a court rule is generally not considered constitutional error, and we instead analyze

whether, without the error, the outcome of the trial would have been materially affected.

State v. Grenning, 169 Wn.2d 47, 58 (2010). If the error rises to constitutional

magnitude, we apply the harmless beyond a reasonable doubt standard. State v. Nist,

77 Wn.2d 227, 234, 461 P.2d 322 (1969). Since the remote hearing here violated both

rulatory and constitutional rights, I only apply the higher standard imposed on the State,

that being the constitutional harmless beyond a reasonable doubt criterion.

       On the one hand, Stephen Bailey agrees that he participated in the hearing and

conferred in a limited manner with his attorney, but he argues that he lacked the benefit

of consulting with his attorney throughout the proceeding. Either counsel or Bailey

                                             21
No. 39348-8-III
State v. Bailey (Dissent)


may have wanted to share information with the other but then later forgot when

communicating face to face. When Bailey objected to his remote appearance, the trial

court should have arranged for additional security or rescheduled the hearing to allow for

sufficient security. According to Bailey, his lack of a physical presence in the courtroom

may have unintentionally biased the resentencing court. As the argument continues, this

court cannot possibly discern if the resentencing court would have imposed the same

sentence had Bailey been present and been able to instantaneously communicate with his

counsel.

       On the other hand, the State highlights that Stephen Bailey assigns no specific

error to the resentencing court’s ordering a videoconference hearing based on security

reasons. The State emphasizes that Bailey elected to proceed by videoconference, rather

than requesting alternate measures.

       According to the State, Stephen Bailey effectively participated throughout the

resentencing hearing. Bailey sat in the local county jail, immediately adjacent to the

courtroom. He saw and heard all participants. Defense counsel received written notes

that Bailey had prepared for him. Counsel informed Bailey that he would go to the jail to

speak with Bailey if Bailey so requested. Bailey acknowledged that he understood this

direction. Bailey demonstrated his ability and willingness to exercise the right to speak

with counsel when he interrupted the proceedings to meet with his attorney privately.

The resentencing court, as argued by the State, listened to Bailey’s evidence of

                                            22
No. 39348-8-III
State v. Bailey (Dissent)


rehabilitation. The court allowed Bailey uninterrupted allocution before the court

announced the sentence.

       Before continuing with the State’s contentions, I correct some of the State’s

assertions. The record does not confirm that defense counsel received notes that Stephen

Bailey prepared for his attorney. After the resentencing court’s ruling, counsel

mentioned to the court that he had failed to forward two of Bailey’s requested

contentions, which may suggest counsel did not receive the list. Any acknowledgement

by Bailey of his right to confer with counsel in the jail during the hearing was a

perfunctory and lukewarm recognition. When the State writes that Bailey demonstrated

his ability and willingness to exercise the right to speak with counsel when he interrupted

the proceedings to meet with his attorney privately, the State omits the fact that Bailey

did so only after the court’s ruling. The State also overlooks that Bailey did not initially

interrupt the hearing to meet with his attorney, but rather to argue with the court. The

court suggested to Bailey that he confer with counsel only after Bailey’s counsel

repeatedly directed him to remain quiet and the court informed Bailey that it would no

longer entertain argument.

       The State highlights the enhanced quality of videoconference equipment and the

difficulties resulting from the pandemic and staffing shortages. The State neglects to

mention that the resentencing court could not hear the testimony of the victim.



                                             23
No. 39348-8-III
State v. Bailey (Dissent)


       The State continues that, at the conclusion of the resentencing hearing, the trial

court reduced Stephen Bailey’s sentence by one year and modified the no-contact order

from the duration of his lifetime to a period of twenty-five years. The resentencing court

possessed no obligation to lessen the sentence, particularly since the offender score

remained at nine or above. In short, the State contends the record fails to show that, had

Bailey appeared in the courtroom, the resentencing court would have imposed a different

sentence.

       Under a constitutional harmless error standard, this court presumes prejudice.

State v. Anderson, 19 Wn. App. 2d 556, 564, 497 P.3d 880 (2021). This court will

reverse unless the State persuades us beyond a reasonable doubt that the error did not

contribute to the verdict. State v. Orn, 197 Wn.2d 343, 359, 482 P.3d 913 (2021);

State v. Romero-Ochoa, 193 Wn.2d 341, 347, 440 P.3d 994 (2019). We place this

heavy burden on the State to deter conduct that undermines the principle of equal justice.

State v. Jackson, 195 Wn.2d 841, 856, 467 P.3d 97 (2020).

       In order to discern the nature of the constitutional error during Stephen Bailey’s

resentencing hearing, I review two recent Court of Appeals decisions, State v. Bragg,

28 Wn. App. 2d 497, 536 P.3d 1176 (2023), and State v. Anderson, 19 Wn. App. 2d 556,

497 P.3d 880 (2021). The decisions involve the right to counsel, not to the right to

appear in person. Nevertheless, I discern no reason to distinguish for purposes of



                                             24
No. 39348-8-III
State v. Bailey (Dissent)


harmless error decisions involving the related rights. I glean important factors from each

decision in order to weigh possible prejudice.

       I first explore this court’s ruling in State v. Anderson, 19 Wn. App. 2d 556 (2021).

Deshawn Anderson assigned error to his inability to confer confidentially with his

counsel during a resentencing hearing. Anderson attended the resentencing hearing via

video from jail. His attorney appeared telephonically. The parties agreed to modify the

judgment and sentence according to the three issues identified in an earlier appellate

decision. When addressed by the court, Anderson confirmed he agreed with the

modifications. This court agreed that the resentencing hearing procedure violated

Deshawn Anderson’s constitutional right to counsel.

       Division Three of this court, in State v. Anderson, applied the constitutional

harmless error standard. This court observed that the error occurred during a

resentencing hearing. During that hearing, Deshawn Anderson received all of the

requests he forwarded to the court. Therefore, the State proved harmless error beyond

a reasonable doubt. We refused to reverse Anderson’s resentencing.

       Division One of this court addressed a defendant’s appearance by videoconference

in State v. Bragg, 28 Wn. App. 2d 497 (2023). A jury convicted Denver Bragg of

three counts of assault in the first degree, drive-by shooting, attempting to elude law

enforcement, and possession of a stolen firearm. Bragg argued on appeal that the trial

court violated his right to confer with his attorney by requiring him to participate in all

                                             25
No. 39348-8-III
State v. Bailey (Dissent)


nontrial hearings via Webex while his counsel appeared in the courtroom. Division One

agreed.

       Because of the fact-specific nature of our inquiry, I relate in detail the pretrial

hearings in Denver Bragg’s prosecution. After Bragg’s arrest and incarceration, the

superior court imposed bail at $750,000, which Bragg could not pay. The superior court

granted numerous trial continuances at the request of the State and defense counsel.

The hearings included a review hearing discussing a plea offer, a review hearing

discussing collecting Bragg’s DNA sample and Bragg’s request to discharge his counsel,

a review hearing discussing DNA evidence, and a final pretrial conference discussing the

defense retaining a DNA expert. For all twenty pretrial proceedings, Bragg appeared on

video via Webex from jail, while his counsel and the State appeared in person before the

trial judge. On multiple occasions, Bragg expressed frustration with the pretrial

proceedings and distrust of his counsel. During one hearing, defense counsel tried to

withdraw due to allegedly irreconcilable conflicts over whether to delay the trial to secure

an expert DNA witness. The court denied counsel’s motion to withdraw.

       On appeal, this court ruled that the trial court violated Denver Bragg’s right to

counsel by not providing guidance to Bragg and his counsel about how to confer

privately during at least four nontrial proceedings and by placing an unreasonable

expectation on Bragg to assert his rights. In so ruling, Division One followed State v.

Anderson and deemed the denial of the right to confer as constituting manifest

                                              26
No. 39348-8-III
State v. Bailey (Dissent)


constitutional error. Division One went on to reject the notion that the videoconference

appearance constituted structural error, necessitating automatic reversal. Nevertheless,

the court applied the constitutional harmless error standard and held that the State did not

carry its burden to show beyond a reasonable doubt that Bragg’s inability to confer with

his counsel at several critical stage proceedings was harmless. Thus, this court reversed

the convictions.

       Division One of this court, in State v. Bragg, analyzed the following events.

During a hearing to discuss a plea offer, Bragg’s counsel advised the court that Bragg

refused the State’s plea offer of 271 months. Counsel further advised the court that he

explained the offer to Bragg in a letter and that the State would not bargain further.

Counsel warned Bragg that, if he refused the plea offer and a jury found him guilty, he

faced a sentence of over 700 months based on his offender score and the consecutive

nature of serious violent offenses and firearm enhancements. During this hearing,

defense counsel also discussed his “‘tense relationship’” with Bragg but without

significant detail. State v. Bragg, 28 Wn. App. 2d 497, 513 (2023). The court asked

Bragg if he wished to address the court, and Bragg declined. This court reasoned that, if

Bragg and his counsel had been able to conduct a confidential conversation during the

plea discussion about the severity of possible jail time, Bragg may have accepted the

offer. The ability to confer with counsel in person, in close proximity, and with the

benefit of the court’s presence may have induced Bragg to further confer with his counsel

                                             27
No. 39348-8-III
State v. Bailey (Dissent)


regarding the plea offer. Acceptance of a plea offer would not have changed whether

Bragg was incarcerated, but the ability to confer at that moment may have led to a

significant reduction in the length of his sentence.

       During another hearing, the parties discussed Denver Bragg’s refusal to give a

DNA sample. Bragg refused to submit to the swab test, arguing his DNA was already

on file. Bragg also expressed distrust of his counsel, the prosecutor, and the corrections

officers taking his sample. As part of this distrust, Bragg complained to the court that

he had been trying to fire his counsel, but the court would not permit him. Bragg further

argued that, per the court order to collect his DNA, the time frame for collection had

expired. Bragg insisted that his attorney should have made this argument for him. Bragg

argued with the court until it muted him. Division One reasoned that, if Bragg and his

counsel could have conferred privately, the relationship between attorney and client may

have improved and Bragg may have better understood the gravity of the DNA evidence.

       At a third hearing, Denver Bragg’s attorney moved to withdraw as counsel.

Defense counsel told the court that he received DNA test results the day before, just one

week before trial, and that he wanted an independent expert to review the results. Bragg

insisted he did not need an expert and wanted to proceed to trial. Following a long

colloquy with Bragg and his attorney about their relationship, the superior court told

counsel that he could then have a conversation with Bragg about the DNA evidence, but

the court never suggested that the conversation could happen privately. This reviewing

                                             28
No. 39348-8-III
State v. Bailey (Dissent)


court reasoned that, had attorney and client then conferred privately, the attorney may

have better explained the gravity of the DNA evidence and encouraged Bragg to either

retain an expert or open a plea discussion.

       During the last hearing, Denver Bragg’s counsel expressed concerns about

Bragg’s competency to participate in his defense because he unequivocally insisted on

trial the next week. He refused to retain experts. He erroneously believed the State’s

DNA evidence helped him. Bragg told the court that he interpreted the results of the

DNA test as showing the complete opposite of what his attorney told him. This court

reasoned that, with a private conversation with counsel, the attorney could have

encouraged Bragg to agree to a continuance to retain an expert because of the gravity

of the DNA results or to reconsider the State’s plea offer.

       In assessing prejudice, Division One, in State v. Bragg, contemplated reasonable

possibilities, not probabilities. This court rejected the State’s contention that Denver

Bragg’s frequent interruption of the trial court showed he understood he could have

spoken to his attorney and knew how to engage in a private discussion with his counsel.

The court also rejected the argument that a private conference would have accomplished

nothing because of the strained relationship between Bragg and his counsel.

       Based on State v. Anderson and State v. Bragg, and the unusual circumstances of

this appeal, I conclude the State fails to show a lack of prejudice. Unlike in State v.

Anderson, the trial court did not grant all of Stephen Bailey’s requests. To the contrary,

                                              29
No. 39348-8-III
State v. Bailey (Dissent)


the superior court denied Bailey’s request to set an offender score of eight. The

resentencing court also denied Bailey’s argument that two 2000 convictions should be

deemed same criminal conduct and one year should be deducted from his sentence

because his 2003 rape conviction sentence was extended one year because of Bailey’s

methamphetamine possession conviction. The court rejected Bailey’s request for a

low-end sentence.

       Stephen Bailey’s defense counsel, probably because Bailey did not appear in

person such that counsel could not simultaneously speak with his client, failed to forward

two arguments until after the resentencing court’s ruling. Without having researched the

merits of those arguments, I initially deem one argument reasonable and fair. Assuming,

as stated by Bailey, that his possession conviction extended his earlier rape conviction

sentence by one year, his current sentence should be shortened by one year. We cannot

rule out a reasonable possibility that Bailey’s presence in the courtroom and an

opportunity for a timely private consultation in the courtroom might have influenced

counsel’s strategy, the presentation of Bailey’s case to the court, or otherwise impacted

the outcome of sentencing hearing.

       Stephen Bailey wanted to appear in person to impress the court with his change

in attitude and behavior. Determining whether his personal appearance would improve

the results of the hearing might be speculation. Some offenders may downgrade a

chance of a lighter sentence by a personal attendance in court. But the opposite is

                                            30
No. 39348-8-III
State v. Bailey (Dissent)


also true. The State, in sum, contends the record fails to show that, had Bailey appeared

in the courtroom, the resentencing court would have imposed a different sentence.

Nevertheless, Bailey lacks any burden to establish that the outcome would have changed.

Instead, the State must show the contrary. It has not done so. I therefore dissent.



                                              Fearing, J.




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